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                           I am aware that Plaintiffs' counsel recently withdrew as appellate counsel in
                           connection with Plaintiffs' appeal in the Second Circuit, see Case No.
                           16-3393, Doc. 31. To the extent that Plaintiffs intend to proceed pro se in
                           this Court, Plaintiffs' counsel is directed to seek leave to withdraw in
                           compliance with Local Civil Rule 1.4. The Clerk's Office is directed to
                           mail a copy of this order to the pro se plaintiffs.




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